
43 So.3d 950 (2010)
Zuzel AGUADA, Appellant/cross-appellee,
v.
Antonio AGUADA, Appellee/cross-appellant.
No. 3D09-3217.
District Court of Appeal of Florida, Third District.
September 15, 2010.
Colon &amp; Mendoza, Marily Colon and Maribel Mendoza, for appellant/cross-appellee.
John Elias, Miami Lakes, for appellee/cross-appellant.
Before COPE and CORTIÑAS, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Both sides appeal from various aspects of the final judgment dissolving their marriage. We find that no error or abuse of discretion has been demonstrated on either the appeal or cross appeal and therefore affirm. We do modify one aspect of the judgment by specifically providing that the equalization payment of $17,831.19, shall be promptly made to the wife from the husband's half of the escrowed proceeds of the sale of the parties' residence.
Affirmed as modified.
